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                              EXHIBIT 2
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                                                                               FILED IN DISTRICT COURT
                                                                              CREEK COUNTY BRISTOWOK
                        IN THE DISTRICT COURT OF CREEK COUNTY                           jijiv n 7 OQI?
                                  STATE OF OKLAHOMA                                           "L
                                   BRISTOW DIVISION        TlfF                            f'
                                                                              Amanda VanOrsdol.^ourt Clerk
   DONALD AND MARY TEMPLE,
   Husband and Wife,

   Plaintiff,
                                                                   IS CJ -2017-00022
   vs.                                                                          Case No.


   STATE FARM FIRE and CASUA LTY COMPANY,                               Attorney Lien Claimed
                                                                        Jury Trial Demanded
   Defendant.

                                               PETITION


           COMES NOW the Plaintiffs, Donald and Mary Temple, husband and wife, by and

   through their attorneys of record, Levinson, Smith and Huffman, P.C. and for their Petition

   allege and state as follows;

           1.     Plaintiffs Donald and Mary Temple, husband and wife, are individuals residing in

   Creek County, State of Oklahoma.

           2.     State Farm Fire and Casualty Company ("State Farm") is a foreign corporation

   incorporated under the laws of the State of Illinois and is registered to engage in the business of

   insurance in the State of Oklahoma and is engaged in the business of insurance in the State of

   Oklahoma.


           3.     All the events giving rise to this cause of action occurred in Creek County, State

  of Oklahoma therefore jurisdiction and venue are proper in Creek County.

           4.     Plaintiffs purchased a policy of insurance. Policy No. 36-BJ-4636-7, from State

  Farm and are an Insured under the policy.

           5.     The policy of insurance covered, among other events, damages that may arise to

  the Insured Location defined under the homeowner's policy as the Residence Premises as well as

                                                    1
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   the part of any other premises, other structures and grounds used by the insured as aresidence,
   including the premises, structures and grounds acquired by the Insured while the pohcy is in
   effect for the insured's use asa residence aswell as any premises used bythe insured in
   cormection with the Residence Premises.

             6.    The Insured Location is 1000 LouAllard Drive in Drumright, Oklahoma.

             7.    After the purchase ofthe policy, on July 8, 2016, the insured Plaintiffs suffered
   Property Damage when their Dwelling and Extensions to their Dwelling on the Residence
   Premises as defined by the policy were damaged as a direct result of a wind/hailstorm.

             8.    The insured Plaintiffs made a timely claim under the policy.

             9.    State Farm investigated the claim and agreed that the policy of insurance

   purchased by Plaintiffs covered the claim.

             10.   However, despite investigating the claim and agreeing that the policy of insurance

   purchased by Plaintiffs covered the loss. StateFarmhas failed to indemnify Plaintiffs under the

   policy.

                                                 COUNT I
                                       BREACH OF CONTRACT


             11.   Plaintiffs reallege and incorporate as if fully restated the allegations contained in

   the above paragraphs.

             12.   Upon Plaintiffs' timely filing of a claim on the policy of insurance issued by State

   Farm, State Farm refused by pay all benefits owed on behalf of Plaintiffs and failed to indemnify

   Plaintiffs for all damages they suffered as a result of the losses they incurred by the covered

   claim.

             13.   State Farm's failure to pay the benefits owed under the policy constitutes an

   unjustifiable breach of contract which has causedthe Plaintiffs' significant damages.
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          14.    As a direct result of Defendant's Breach of Contract, Plaintiffs have suffered

  actual damages in a siam in excess of $75,000.00.

                                               COUNT II
                                             NEGLIGENCE


          15.     Plaintiffs reallege and incorporate as if fully restated the allegations contained in

  the above paragraphs.

          16.     State Farm assumed the duty to timely investigate, evaluate and indemnify

  Plaintiffs for the loss described above.

          17.     State Farm knew^ the necessary steps it would take to timely investigate, evaluate

  and indemnify Plaintifffor the loss described above, yet it failedto take the appropriate and

  necessary steps to timely resolve these issues.

          18.     As a direct result of the Negligent acts of State Farm, Plaintiffs have suffered

   actual damages in a sum in excess of $75,000.00

                                               COUNT III
                              BAD FAITH BREACH OF CONTRACT


          19.     Plaintiffs reallege and incorporate as if fully restated the allegations contained in

  the above paragraphs.

          20.     Defendant State Farm owed the Plaintiffs a duty of good faith and fair dealing to

  timely investigate, evaluate and indemnify all claims due and owing under the terms and

  conditions of the policy as well as a duty to exercise diligence, good faith and honest and

  conscientious fidelity to the interest of the insured.

          21.     Defendant State Farm failed to live up to its ongoing duty of good faith and fair

   dealing which has caused Plaintiffs to suffer irreparable harm.
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           22.    In detennining whether to indemmfy Plaintiffs on their claims. State Farm has

   givenconsideration to State Farm's interests only and failed to, in good faith, give at least equal

   consideration to the interest of its insured, thereby depriving Plaintiffs of the benefits of their

   insurance agreement with State Farm and breaching its duty of good faith and fair dealing owed

   Plaintiffs.


           23.    Defendant State Farm's actions and omissions towards Plaintiffs are unreasonable

   under the circumstances and constitute a breach of its duty of good faith and fair dealing to its

   insureds.

           24.    As a direct result of Defendant's Bad Faith Breach of Contract, Plaintiffs have

   suffered actual damages in a siim in excess of $75,000.00.

                                                COUNT rv
                                         PUNITIVE DAMAGES


           25.    Plaintiffs reallege and incorporate as if fiilly restated the allegations contained in

   the above paragraphs.

           26.    Defendant's actions were wanton, malicious and either grossly reckless or

   intentional warranting an award of punitive damages.

           27.    As a direct result of Defendant's wanton, mahcious and either grossly reckless or

   intentional actions, including but not limited to Defendant's acts of bad faith, Plaintiffs are

   entitled to punitive damages in a sum in excess of $75,000.

                                                 PRAYER


           WHEREFORE, premises considered, Plaintiffs respectfully request that this Court grant

   judgment in favor of Plaintiffs and against Defendant State Farm for actual damages in a sum in

   excess of $75,000.00 and for pimitive damages in a sum in excess of $75,000.00 along with
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   attorney fees, including but not limited to attorney fees allowed pursuant to 12 O.S. §3629(B)

   (1985), costs and any other relief the Court deems just and proper.


                                                        Respectfully submitted.



                                                        Lee I. Levinson, OBA #5395
                                                        Terence P. Brennan, OBA #10036
                                                        Evan McLemore, OBA #31407
                                                        Levinson, Smith & Huffman, P.C.
                                                        1743 East 7P' Street
                                                        Tulsa, Oklahoma 74136-5108
                                                        918.492.4433-Telephone
                                                        918.492.6224-Facsimile
